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                            UNITED STATES DISTRICT COURT                        JS-6
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES - GENERAL

Case No.    CV 20-8428-DMG                                         Date     October 19, 2020
            1:20-bk-11006-VK

Title In re Lev Investments, LLC


Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

            KANE TIEN                                            NONE REPORTED
            Deputy Clerk                                           Court Reporter

   Attorneys Present for Plaintiff(s)                     Attorneys Present for Defendant(s)
          NONE PRESENT                                            NONE PRESENT

Proceedings: IN CHAMBERS - ORDER AND NOTICE TO PARTIES

        On October 2, 2020, the Court ordered Appellant to show cause in writing, no later than
October 16, 2020, why the above-entitled action should not be dismissed. To date, Appellant has
not filed a response.

       Accordingly, good cause appearing, the Court DISMISSES this bankruptcy appeal
without prejudice under Federal Rule of Civil Procedure 4(m) for failure to prosecute.

IT IS SO ORDERED.


cc: U.S. Bankruptcy Court




CV-90                              CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
